      CASE 0:10-cr-00339-PJS-ECW           Doc. 312      Filed 08/16/11     Page 1 of 11




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                             Case No. 10-CR-0339 (PJS/JJK)

                       Plaintiff,
                                                                   ORDER
 v.

 CRUZ ROSALES (6),

                       Defendant.

       Jeffrey S. Paulsen, UNITED STATES ATTORNEY’S OFFICE, for plaintiff.

       Michael C. Hager, HAGER LAW OFFICE, for defendant.

       Defendant Cruz Rosales is charged with conspiring to distribute methamphetamine,

cocaine, and marijuana in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A). He is also charged

with aiding and abetting the distribution of methamphetamine in violation of 21 U.S.C.

§ 841(b)(1)(A) and 18 U.S.C. § 2. Magistrate Judge Jeffrey J. Keyes has issued three Reports

and Recommendations (“R&Rs”) concerning a number of Rosales’s pretrial motions.

See Docket Nos. 244, 261, 262. In the R&Rs, Judge Keyes recommends: (1) denying Rosales’s

motion to suppress evidence obtained by means of electronic surveillance [Docket No. 244];

(2) denying Rosales’s motion to sever [Docket No. 261]; and (3) denying Rosales’s motion to

suppress physical evidence and denying as moot Rosales’s motion to suppress statements

[Docket No. 262].

       This matter is before the Court on Rosales’s objections to the R&Rs. The Court has

conducted a de novo review. See 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b)(3). Based on

that review, the Court adopts two of the R&Rs [Docket Nos. 244 and 261] and denies Rosales’s

motions regarding electronic surveillance and severance. The Court also adopts the third R&R
      CASE 0:10-cr-00339-PJS-ECW              Doc. 312       Filed 08/16/11      Page 2 of 11




[Docket No. 262] insofar as it recommends denying Rosales’s motion to suppress statements as

moot. With respect to Rosales’s motion to suppress physical evidence, however, the Court will

reopen the record and hold an evidentiary hearing.

                     A. Motion to Exclude Electronic Surveillance Evidence

       On March 24, 2011, Judge Keyes issued an R&R addressing an identical motion

regarding electronic surveillance brought by one of Rosales’s codefendants. See Docket

No. 167.1 In the March 24 R&R, Judge Keyes thoroughly reviewed the record concerning the

authorization of electronic surveillance in this case and concluded both that the authorization

was supported by probable cause and that the authorization was proper under 18 U.S.C. § 2518,

which limits the use of electronic surveillance and sets forth standards that the government must

meet in order to conduct such surveillance. The Court adopted that R&R on April 11, 2011. See

Docket No. 185. Having reviewed the record de novo for purposes of Rosales’s motion, the

Court again concludes that the authorization was proper for the reasons set forth in Judge

Keyes’s March 24 R&R. Rosales’s motion to suppress evidence obtained by means of electronic

surveillance is therefore denied.

                                         B. Motion to Sever

       Rosales argues that severance is necessary because a joint trial would deprive him of the

ability to call his codefendants as witnesses. But “[i]t is not enough ‘for a defendant to claim . . .

that he needed a separate trial in order to call a co-defendant as a witness. He must show that it

is likely his codefendant would have testified and that the testimony would have been

exculpatory.’” United States v. Crumley, 528 F.3d 1053, 1063-64 (8th Cir. 2008) (quoting


       1
        Judge Keyes signed the R&R on March 23.

                                                 -2-
       CASE 0:10-cr-00339-PJS-ECW             Doc. 312      Filed 08/16/11      Page 3 of 11




United States v. Mickelson, 378 F.3d 810, 818 (8th Cir. 2004)). Rosales has not met this

standard; instead, he offers only speculation that one or more of his codefendants might testify,

and that, if they testify, their testimony might be exculpatory in some unspecified way.

        Rosales also argues that severance is necessary because he and his codefendants will

present mutually antagonistic defenses. As a general matter, “‘[t]he mere fact that one defendant

tries to shift blame to another defendant does not mandate separate trials, as a codefendant

frequently attempts to point the finger, to shift the blame, or to save himself at the expense of the

other.’” Crumley, 528 F.3d at 1063 (quoting United States v. Flores, 362 F.3d 1030, 1039-40

(8th Cir. 2004)). Severance may be necessary, however, where codefendants present mutually

antagonistic defenses. United States v. Payton, 636 F.3d 1027, 1037 (8th Cir. 2011). But the

mere fact that codefendants offer conflicting defenses does not require severance; instead,

severance is required “‘only when there is a danger that the jury will unjustifiably infer that this

conflict alone demonstrates that both are guilty.’” Id. (quoting United States v. Sandstrom, 594

F.3d 634, 644 (8th Cir. 2010)). The defendant bears a “heavy” burden to make this showing. Id.

(citation and quotations omitted). Rosales has not come close to meeting this burden. He does

not identify his own defense or explain how it conflicts with the defenses of his codefendants,

and he offers only speculation that his codefendants might take the position that he acted on his

own.

        Finally, Rosales argues that severance is required because the evidence shows, at most,

that he was part of a separate, smaller conspiracy involving his codefendant Benjamin Perez, and

there is insufficient evidence that he was part of the larger conspiracy alleged in the indictment.

The Court disagrees. As discussed below, there is evidence that Rosales — along with his


                                                 -3-
      CASE 0:10-cr-00339-PJS-ECW             Doc. 312      Filed 08/16/11      Page 4 of 11




codefendants Noe Alamos Pantoja (“Alamos”) and Giesy Sanchez — assisted in the collection of

a drug debt owed to one of the alleged suppliers of the conspiracy. There is also evidence that

Rosales (along with Perez) delivered drugs and money to Pantoja on a separate occasion. This is

sufficient evidence of Rosales’s participation in the larger conspiracy, and Rosales is properly

joined under Fed. R. Crim. P. 8(b). Rosales’s motion to sever is denied.

                   C. Motions to Suppress Physical Evidence and Statements

       Rosales’s suppression motions relate to evidence gathered at a June 7, 2010 traffic stop in

St. Paul and a July 31, 2010 search and seizure at the Minneapolis/St. Paul International Airport.

The Court discusses each incident in turn.

                                   1. June 7, 2010 Traffic Stop

       On June 7, agents were surveilling a cooperating informant who was supposed to be

paying off a drug debt owed to a man named Gustavo Valdovinos. Hr’g Tr. 7-9, May 3, 2011

[Docket No. 253]. Valdovinos was one of the sources of drugs for the alleged conspiracy. Hr’g

Tr. 8. (He is currently a fugitive in Mexico.) The informant was supposed to turn over the title

to a sport-utility vehicle to associates of Valdovinos as payment for the debt. Hr’g Tr. 8-9.

       The agents saw Alamos and Sanchez — who were both known to be members of the

conspiracy — pick up the informant, drive him to his parent’s house to pick up the vehicle title,

and then drive him to a restaurant in Minneapolis. Hr’g Tr. 10-11. A black Hummer with

Oregon license plates then arrived at the restaurant. Hr’g Tr. 11. Just before the Hummer

appeared, the informant sent a text message to the agents telling them to watch for a black

Hummer. Hr’g Tr. 11. The agents saw the Hummer arrive and then leave a few minutes later,

but were unable to see the meeting take place. Hr’g Tr. 11-12. After the Hummer left, the


                                                -4-
      CASE 0:10-cr-00339-PJS-ECW              Doc. 312      Filed 08/16/11      Page 5 of 11




informant sent a text message to the agents stating that he had given the vehicle title to the

people in the Hummer. Hr’g Tr. 12. (Although the record is unclear, the parties agree that the

title was given to a woman in the Hummer.) The Hummer then went directly to the Department

of Motor Vehicles (“DMV”) in St. Paul. Hr’g Tr. 12. The agents observed four people in the

Hummer; when the Hummer arrived at DMV, the agents saw all four people go into the DMV

and come back out again. Hr’g Tr. 12, 28. The agents contacted a St. Paul police officer, who

arranged for a uniformed officer to stop the Hummer and identify the four occupants, one of

whom was Rosales. Hr’g Tr. 12-14.

       Rosales first argues that, because the informant did not hand the title to him, the agents

had no basis to suspect him of a crime. The Court disagrees. Although the informant did not

hand the title directly to Rosales, it is reasonable to infer that Rosales was present to help enforce

the collection of the drug debt — which, as the government notes, is an inherently coercive

activity. In addition, the fact that all four occupants of the Hummer (including Rosales) went

into the DMV further indicates that they were acting in concert.

       Rosales next argues that the St. Paul officer who stopped the Hummer lacked any legal

basis to do so. Rosales does not dispute that, as a general matter, the collective knowledge of

law-enforcement agents involved in an investigation may be imputed to an officer who makes a

stop. But he argues that there must be “some degree of communication” between the

investigating agents and the officer who made the stop. See United States v. Terry, 400 F.3d

575, 581 (8th Cir. 2005) (citation and quotations omitted). Rosales argues that the amount of

communication in this case — which was nothing beyond a bare direction to stop the vehicle and

identify the occupants — is insufficient to meet this standard. The Court disagrees.


                                                 -5-
      CASE 0:10-cr-00339-PJS-ECW                Doc. 312    Filed 08/16/11      Page 6 of 11




        The communication requirement “distinguishes officers functioning as a team from

officers acting as independent actors who merely happen to be investigating the same subject.”

Terry, 400 F.3d at 581. Here, the St. Paul officer who stopped the Hummer was acting solely at

the request and direction of agents who had personal knowledge sufficient to justify the stop.

Under these circumstances, the St. Paul officer was functioning as part of the investigative team;

he was not in any sense an independent actor. It is therefore appropriate to impute the agents’

knowledge to the St. Paul officer. Cf. United States v. Gillette, 245 F.3d 1032, 1034 (8th Cir.

2001) (imputing knowledge of consent to search to an officer who, in response to a call for

backup, “simply arrived on the scene and immediately began to search vehicles”); see also

United States v. Hensley, 469 U.S. 221, 232 (1985) (“We conclude that, if a flyer or bulletin has

been issued on the basis of articulable facts supporting a reasonable suspicion that the wanted

person has committed an offense, then reliance on that flyer or bulletin justifies a stop to check

identification, to pose questions to the person, or to detain the person briefly while attempting to

obtain further information.”) (citations omitted); Whiteley v. Warden, Wyo. State Penitentiary,

401 U.S. 560, 568 (1971) (“We do not, of course, question that the Laramie police were entitled

to act on the strength of the radio bulletin.”).2



        2
         Rosales cites Whiteley for the proposition that, when an arresting officer relies on a radio
bulletin to effect an arrest, the arresting officer must himself possess some information justifying
the arrest. But in Whiteley, the underlying basis for the arrest was an informant’s tip. Whiteley,
401 U.S. at 565. The Supreme Court held that the tip was not sufficient to provide probable
cause because no one — including the arresting officer — possessed any information
corroborating the tip. Id. at 567-68. Nowhere did the Supreme Court suggest that the arresting
officer himself had to possess the corroborating information; to the contrary, the Supreme Court
specifically stated that “the Laramie police were entitled to act on the strength of the radio
bulletin.” Id. at 568. The problem was that, even taking all the officers’ collective knowledge
into account, there was no probable cause to arrest the petitioner.

                                                    -6-
      CASE 0:10-cr-00339-PJS-ECW             Doc. 312      Filed 08/16/11     Page 7 of 11




       Rosales also argues that there is no evidence corroborating the confidential informant’s

information. But the informant’s information was corroborated in several ways: He told the

agents that he owed a drug debt to a particular drug supplier, and individuals associated with that

drug supplier (Pantoja and Sanchez) showed up at the meeting; he told the agents to watch for a

black Hummer, and a black Hummer appeared at the meeting; and immediately after he gave the

vehicle title to a woman in the Hummer, the Hummer drove directly to the DMV. The Court

therefore has no trouble concluding that there was reasonable suspicion to stop the Hummer in

order to identify the occupants. See Hensley, 469 U.S. at 226 (“law enforcement agents may

briefly stop a moving automobile to investigate a reasonable suspicion that its occupants are

involved in criminal activity”).

                               2. July 31, 2010 Search and Seizure

       On July 30, agents intercepted text messages from Valdovinos to Pantoja asking Pantoja

to pick up drugs and money from someone named “Meno.” Hr’g Tr. 14. The next day (July 31),

Pantoja sent a text message to Valdovinos stating that he was on his way to meet Meno’s people.

Hr’g Tr. 15. Shortly before the meeting, Valdovinos sent Pantoja a text message saying “Get all

of it. Let me know how much paper they gave you and material.” Hr’g Tr. 18. “Paper” and

“material” are code for money and drugs, respectively. Hr’g Tr. 18.

       Agents conducting surveillance saw Pantoja and Sanchez drive to a Wal-Mart in Vadnais

Heights. Hr’g Tr. 15. While still in their car, Pantoja and Sanchez met with two Hispanic males

wearing red soccer jerseys and blue baseball caps; the two Hispanic males — who turned out to

be Rosales and Perez — were in a Toyota pickup truck. Hr’g Tr. 15, 19. After a brief exchange,

the vehicles went their separate ways. Hr’g Tr. 16. Surveillance officers followed Rosales and


                                                -7-
     CASE 0:10-cr-00339-PJS-ECW             Doc. 312     Filed 08/16/11      Page 8 of 11




Perez from their meeting with Pantoja and Sanchez to the Minneapolis-St. Paul International

Airport. Hr’g Tr. 16, 19.

       While following Rosales and Perez, agents continued to intercept text messages between

Pantoja and Valdovinos. Hr’g Tr. 16. Among other things, Pantoja told Valdovinos that “[i]t’s

done, buddy. They gave me the work.” Hr’g Tr. 17. “Work” is code for drugs. Hr’g Tr. 18.

There were additional coded messages concerning how much drugs and money Pantoja had

received. Hr’g Tr. 18-19. Based on the messages, the agents believed that Rosales and Perez

had given $5,500 and 28 ounces of methamphetamine to Pantoja. Hr’g Tr. 22-23. The agents

contacted the Airport Police Department and Dispatch, gave them a description of the two men

in the Toyota pickup truck, and asked them to identify the men — who, as noted, turned out to

be Rosales and Perez. Hr’g Tr. 20. Airport security personnel also found approximately

$10,000 in cash on each of the men.3 Hr’g Tr. 21.

       The Court agrees with the government that the agents who surveilled the transaction had

probable cause to arrest Rosales and could have searched him incident to that arrest. And, as

discussed above, the knowledge that the surveilling agents had may be imputed to the officers

who actually conducted the search and seizure so long as there was “some degree of

communication” between the agents and the officers. See Terry, 400 F.3d at 581 (citation and

quotations omitted).




       3
        The airport officers also interviewed Rosales and Perez; the government has agreed not
to use Rosales’s statements in its case in chief, and the Court therefore agrees that Rosales’s
motion to suppress these statements should be denied as moot.

                                               -8-
      CASE 0:10-cr-00339-PJS-ECW             Doc. 312      Filed 08/16/11      Page 9 of 11




       The record is unclear, however, concerning who actually conducted the search and

seizure and what was communicated to whom.4 Likewise, the record does not indicate where or

how the cash was found. Without knowing what, if anything, was communicated to the officers

who actually conducted the search and seizure, the Court cannot determine whether the

surveilling agents’ knowledge should be imputed to them. Indeed, there is some suggestion in

the record that agents from the Transportation Security Administration (“TSA”) had their own

reasons for investigating Rosales and Perez and that it was the TSA agents who found the cash.

Hr’g Tr. 31-32. Given the state of the record, the Court cannot rule out the possibility that the

TSA agents were “independent actors who merely happen[ed] to be investigating the same

subject” and that it would be improper to impute the surveilling officers’ knowledge to them.

Terry, 400 F.3d at 581; Hr’g Tr. 25 (“I was in contact with the airport police dispatch. I know

that one or two of the Hennepin County deputies actually went into the airport. I don’t know of

any contact that they had with the TSA agents.”).5




       4
         The lack of evidence in the record concerning the events at the airport is apparently the
result of an understanding — or, more accurately, a misunderstanding — between the
government and defense counsel concerning the scope of the parties’ dispute. The Court
appreciates the parties’ attempt to simplify the issues, but it now appears that further factual
development is necessary.
       5
         There is a further complication: According to the surveilling agent’s testimony, he gave
airport police a description of Rosales and Perez and asked the police to identify the two men.
Hr’g Tr. 20. It is not clear to the Court that an officer with no other knowledge or connection to
the investigation who was merely given a description and a request for identification could then
constitutionally search the two men. Cf. Hensley, 469 U.S. at 234-35 (upholding a brief
detention because “[a]n objective reading of the entire flyer would lead an experienced officer to
conclude that Thomas Hensley was at least wanted for questioning and investigation” and “the
stop and detention that occurred were in fact no more intrusive than would have been permitted
an experienced officer on an objective reading of the flyer” (emphasis added)).

                                                -9-
     CASE 0:10-cr-00339-PJS-ECW               Doc. 312      Filed 08/16/11     Page 10 of 11




          Even without imputing the surveilling agents’ knowledge to the TSA agents, it is possible

that there are independent reasons that would justify the TSA agents’ search. But any such

reasons are not in the record. Likewise, it is true that airport security personnel may properly

conduct suspicionless screening searches that are “conducted as part of a general regulatory

scheme in furtherance of an administrative purpose, namely, to prevent the carrying of weapons

or explosives aboard aircraft . . . .” United States v. Aukai, 497 F.3d 955, 960 (9th Cir. 2007) (en

banc) (citation and quotations omitted). But it is not at all clear that the cash was found pursuant

to such a search. Moreover, “the scope of such searches is not limitless.” Id. at 962. Without

any information about the search, the Court is unable to say that the scope of the search was

proper.

          The Court will therefore hold an evidentiary hearing so that the parties can submit

evidence concerning the events at the airport, the communications between the surveilling

officers and the agents who actually conducted the search, the details of the search and seizure,

and any independent basis that the airport agents may have had for the search and seizure.

                                               ORDER

          Based on all of the files, records, and proceedings herein, the Court ADOPTS the

May 26, 2011 R&R [Docket No. 244] and the June 9, 2011 R&R concerning Rosales’s motion to

sever [Docket No. 261]. The Court ADOPTS IN PART the June 9, 2011 R&R concerning

Rosales’s suppression motions [Docket No. 262] insofar as the R&R recommends denying

Rosales’s motion to suppress statements as moot. Accordingly, IT IS HEREBY ORDERED

THAT:




                                                 -10-
   CASE 0:10-cr-00339-PJS-ECW           Doc. 312      Filed 08/16/11     Page 11 of 11




     1.     Rosales’s motion to suppress evidence obtained by means of electronic

            surveillance [Docket No. 216] is DENIED.

     2.     Rosales’s motion to sever [Docket No. 199] is DENIED.

     3.     Rosales’s motion to suppress statements [Docket No. 203] is DENIED AS

            MOOT.

     4.     The parties are directed to contact the undersigned’s chambers to schedule an

            evidentiary hearing on Rosales’s motion to suppress physical evidence [Docket

            No. 204].

Dated: August 16 , 2011                       s/Patrick J. Schiltz
                                              Patrick J. Schiltz
                                              United States District Judge




                                           -11-
